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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                         CASE NO. 24-CR-20343-KMW/Goodman

   UNITED STATES OF AMERICA,
         Plaintiff,
   vs.
   ROGER ALEJANDRO PIÑATE MARTINEZ,

         Defendant.
   ________________________________________/
           [PROPOSED ORDER] GRANTING DEFENDANTS’ REPLY IN
            SUPPORT OF JOINT MOTION TO CONTINUE DEADLINES

         This matter comes before the Court on Defendants’ Reply In

   Support of Joint Motion to Continue Deadlines. Upon consideration of the Motion,

   and the record as a whole, it is hereby:

         ORDERED that Defendants’ Reply In Support of Joint Motion to Continue

   Deadlines is GRANTED; and it is further,

         ORDERED that Defendants’ shall have until April 28, 2025 to submit any

   dispositive motions and the Plaintiff shall have until May 19, 2025 to file its responses

   to the dispositive motions.

         SO ORDERED.

                                                  ________________________________
                                                  The Honorable Kathleen M. Williams
                                                  United States District Judge


   Copy: Counsel of Record




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